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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

 CENTRAL STATES, SOUTHEAST AND                            )
 SOUTHWEST AREAS PENSION FUND;                            )
 and CHARLES A. WHOBREY, as Trustee,                      )
                                                          )   Case No. 24-cv-1880
                                    Plaintiffs,           )
                                                          )   Judge Mary M. Rowland
                     v.                                   )
                                                          )   Magistrate Judge Keri L. Holleb
  CAROLYN POLK,                                           )   Hotaling
                                                          )
                                    Defendant.            )

        PLAINTIFFS’ AGREED MOTION FOR ENTRY OF CONSENT JUDGMENT

          Plaintiffs, Central States, Southeast and Southwest Areas Pension Fund and Charles A.

Whobrey, one of its trustees, hereby move this Court for entry of a Consent Judgment. In support

of this Motion, Plaintiffs state as follows:

          1.        Plaintiffs filed this action on March 6, 2024, seeking to recover an overpayment of

pension benefits from the Defendant Carolyn Polk (“Polk”) in the amount of $36,386.27.

          2.        Plaintiffs and Defendant have agreed to settle this matter and pursuant to the

settlement terms, Defendant Polk has agreed to the entry of a Consent Judgment in favor of the

Plaintiffs.

          3.        Plaintiffs and Defendant have now agreed to the terms of a Consent Judgment.

          WHEREFORE, Plaintiffs respectfully request that this Court enter the Consent Judgment,

attached hereto as Exhibit A.

                                                  Respectfully submitted,

                                                  /s/Ama G. Gyimah
                                                  Ama G. Gyimah (ARDC #6329753)
                                                  CENTRAL STATES FUNDS
                                                  Law Department



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                                        8647 W. Higgins Road, 8th Floor
                                        Chicago, Illinois 60631
                                        (847) 232-5767
                                        agyimah@centralstatesfunds.org

January 9, 2025                         ATTORNEY FOR PLAINTIFFS




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                                 CERTIFICATE OF SERVICE

          I, Ama G. Gyimah one of the attorneys for the Central States, Southeast and Southwest

Areas Pension Fund, certify that on January 9, 2025, I caused the foregoing Plaintiffs’ Agreed

Motion for Entry of a Consent Judgment to be filed electronically. This filing was served on all

parties indicated on the electronic filing receipt via the Court’s electronic filing system. A copy

was also sent via e-mail and UPS overnight mail to:

          Carolyn Polk
          9619 Arvin St.
          Houston, TX 77078-2801
          Polkcarolyn71@gmail.com


                                             Respectfully submitted,

                                             /s/Ama G. Gyimah
                                             Ama G. Gyimah (ARDC #6329753)
                                             CENTRAL STATES FUNDS
                                             Law Department
                                             8647 W. Higgins Road, 8th Floor
                                             Chicago, Illinois 60631
                                             (847) 232-5767
                                             agyimah@centralstatesfunds.org

January 9, 2025                              ATTORNEY FOR PLAINTIFFS




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